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                  UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF COLORADO
                       Judge Robert E. Blackburn

 Civil Action No. 23-cv-01888-REB
 (Appeal from Bankruptcy Case No. 22-012455-TBM;
 Adv. Proc. 22-01258-TBM)

 IN RE:

 CHRISTOPHER PATRICK BOYD,

 Debtor.
 _________________________________________________________________

 HEMP RECOVERY COMPANY, LLC,
 Plaintiff / Appellee,
 v.
 CHRISTOPHER PATRICK BOYD,
 Defendant / Appellant.

 _________________________________________________________________
  *CORRECTED* OPENING BRIEF OF APPELLANT CHRISTOPHER
                          PATRICK BOYD
 _________________________________________________________________

On appeal from Bankruptcy Adversary Proceeding 22 – 01258 TBM before the
United States Bankruptcy Court for the District of Colorado.

Dated: October 31, 2023
                          Respectfully submitted by:
                           Stephen E. Berken, Esq.
                          BERKEN CLOYES P.C.
                               1159 Delaware St.
                               Denver, CO 80204
                              Tel: (303) 623-4357
                          Facsimile: (720) 554-7853
                     Email: stephenberkenlaw@gmail.com
                    Counsel for Appellant Christopher Boyd
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                      JURISDICTIONAL STATEMENT

   (A)      Basis for the Bankruptcy Court’s subject-matter jurisdiction

   This appeal arises from an order for summary judgment for Hemp Recovery

   Company (hereinafter “Appellee”) and disposition of the adversary proceeding

   against Christopher Boyd (hereinafter “Appellant”) in a Chapter 13 Bankruptcy

   case in the United States Bankruptcy Court for the District of Colorado

   (“Bankruptcy Court”). The Bankruptcy Court had jurisdiction over the Chapter

   13 Bankruptcy case because the Debtor represented he was eligible to file

   within the District of Colorado pursuant to 28 U.S.C. § 1408. The Bankruptcy

   Court had jurisdiction over the issue on appeal pursuant to 28 U.S.C. § 1334,

   because it was a core proceeding arising in and related to a Chapter 13

   Bankruptcy proceeding concerning the dischargeability of a debt.


   (B)      Basis for the District Court’s Jurisdiction

   The District Court has jurisdiction over this matter pursuant to Fed. R. Bankr. P.

   8001(a), Fed. R. Bankr. P. 8002, 28 U.S.C. § 1331, and 28 U.S.C. § 1334(b).


   (C)      Filing Date

   The Order Appellant seeks to appeal a judgment for Appellee entered July 10,

   2023. Pursuant to Fed. R. Bankr. P. 8002, Appellant’s Notice of Appeal was

   timely filed on July 24, 2023.

   (D)      Appeal from Final Order


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      The Order at issue is a final order of the United States Bankruptcy Court for

   the District of Colorado, which Appellant may appeal as a matter of right:

                   [a] party may appeal as of right from the final order
                   of a bankruptcy court to a district court. 28 U.S.C. §
                   158(a)(1)… In the bankruptcy context, a court's
                   order is final, as opposed to interlocutory, if it
                   resolves ‘a particular proceeding or controversy
                   within the entire bankruptcy proceeding’ or
                   ‘irrevocably decides a dispositive issue of law or the
                   rights of any party.’ [internal citation omitted]

Miller v. Deutsche Bank Nat'l Tr. Co., Civil Action No. 12-cv-03279-PAB, 2013

WL 4776054, at *8 (D. Colo. Sep. 4, 2013).


                          STATEMENT OF ISSUES

1. Whether the bankruptcy court erred in its application of collateral estoppel,

   in particular, whether the issue before the bankruptcy court was identical

   to an issue actually litigated and adjudicated in the prior proceeding?

2. Whether the use of verbal statements regarding financial condition of the

   Appellant, relied upon in the state court, were admissible evidence in the

   bankruptcy court’s finding that collateral estoppel applies in the

   Appellee’s motion for summary judgment?

3. Whether the bankruptcy court erred in its interpretation of the proper

   party-in-interest?

      4.    Whether the failure to assert champerty in the state court

   proceeding precluded its assertion in the bankruptcy adversary case?


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                               STANDARD OF REVIEW

      In reviewing the decision of the Bankruptcy Court, this United States

District Court for the District of Colorado (“District Court”) “functions as an

appellate court and is authorized to affirm, reverse, modify or remand the

Bankruptcy Court’s ruling.” In re Martin, 500 B.R. 1, 3 (D.Colo.2013)(citing 28

U.S.C. § 158(a); FED.R.BANKR.P. 8013). The standard of appellate review for a

conclusion of law is de novo. Carpenter v. Berkeley Fed. Bank & Tr. FSB (In re

Carpenter), 200 B.R. 47, 48 (D. Colo. 1996). Furthermore, “[t]he Bankruptcy

Court’s factual findings, including findings regarding intent, are reviewed for clear

error.” In re Cupit, 541 B.R. 739, (D. Colo. 2015), In re Johnson, 477 B.R. 156,

168 (10th Cir. BAP 2012).

                          STATEMENT OF THE CASE

This appeal arises from an Order of the Bankruptcy Court entering judgment in

favor of Appellee and against Appellant in Adversary case number 22-01258 TBM

on July 10, 2023 (“Order.”) The Order addresses the issue before this court, that

is, whether a debt is excepted from discharge under 11 U.S.C. § 1328 as violative

of 11 U.S.C. § 523(a)(2)(A) of the bankruptcy code.

Appellant commenced his Chapter 13 proceeding, assigned Case no.: 22-12455

TBM with the filing of a voluntary petition on July 28, 2022 (“Petition Date.”)

Docket #1. Appellee commenced an adversary action against Appellant on October

24, 2022. Related thereto, Appellee filed a motion for summary judgment on May


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9, 2023 (dkt. No.: 23) to which appellant responded on May 23, 2023 (dkt. No.:

24). Appellee filed a response thereto on June 16, 2023 ( (dkt. No.: 27). The

bankruptcy court granted the motion for summary judgment for Appellee on July

10, 2023 (dkt. No.: 28) and followed with judgment for Appellee on the same date

(dkt. No.: 29).

      The issue before the bankruptcy court was whether Appellant’s obligation to

Appellee was excepted from discharge pursuant to 11 USC section 523 (a)(2)(A).

The bankruptcy court gave deference to a prepetition order entered in Colorado

state court finding that appellant had committed the tort of false representation in

its business dealings prior to the filing of the bankruptcy petition. Notably, those

business dealings did not involve the Appellee, as same was an assignee of a claim

held by individuals known as the Desmonds.

                                RELEVANT CODE SECTION

      11 U.S.C. § 523(a)(2)(A):

      (a)A discharge under section 727, 1141, 1192 , 1228(a), 1228(b), or 1328(b)
      of this title does not discharge an individual debtor from any debt—
      (2) for money, property, services, or an extension, renewal, or refinancing
      of credit, to the extent obtained by—
       (A) false pretenses, a false representation, or actual fraud, other than a
       statement respecting the debtor’s or an insider’s financial condition;

11 U.S.C. § 523(a)(2)(A) [emphasis provided].

                    SUMMARY OF APPELLANT’S ARGUMENT

Members of the Desmond family entered a verbal agreement with Appellant to




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 process CBD (“cannabidiol”) from raw hemp. On information and belief, at some

 point, the Desmonds assigned their claim to an entity called Hemp Recovery

 Company, LLC (Appellee.) Litigation was commenced in state court under

 Appellee’s name asserting various legal theories. Within the state court matter,

 Appellee prevailed as to its claims, under state law, for false representation,

 nondisclosure and concealment, and negligent misrepresentation. Appellee

 proceeds in this forum under § 523(a)(2)(A). As such, it relies heavily on a state

 court judgment and an appellate order entered against Defendant for the

 proposition that summary judgment is appropriate. Appellee argues that all the

 elements of collateral estoppel are present to warrant entry of judgment against

 Defendant as a matter of law. Appellant argues that the assignment of the tort

 violates public policy, that the trial court misapplied collateral estoppel, and that

 the issue of standing, although not raised in the state court matter, is a question of

 subject matter jurisdiction and was properly raised in both the adversary case as

 well as within this appeal.

                            STATE COURT LITIGATION




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 In 2019 Appellee commenced litigation in state court against Appellant and other

 parties, before Judge Morris Hoffman.1 After a three-day trial, the court made the

 following observations and findings. These are the highlights: 2


 1
   Styled Hemp Recovery Co, LLC v. Thomas Alan Boyd, Christopher P. Boyd,
 Foothills Ventures, LLC and Sling Logistics, LLC, Denver County District Court,
 case number 2019CV30498.
 2
   See Plaintiff’s Exhibit no.: 2, transcript of the January 15, 2020 hearing before
 Judge Morris Hoffman, beginning on p. 162.
     a. I suspect Alan Boyd has a lot more to do with Sling Logistics than we know.
        But that's a suspicion -- I'll talk about this a little later -- that Plaintiff has not
        really proved in this case. But I suspect it to be true. P. 161.
     b. From the very beginning, the four of these people, the two Desmonds and
        the two Boyds, have always been talking about two different -- somewhat
        overlapping, but largely parallel -- things. P. 165.
     c. The Boyds, both of them, had represented they could do this through the
        entity -- the other Defendant is Foothills Ventures. They didn't do it. They
        made rep -- misrepresentations about their ability to do it. P. 166.
     d. We had an agreement you would extract our forty-four hundred pounds. We
        would split the CBD oil fifty-fifty. P. 167.
     e. Where Mr. Christopher Boyd and his wife actually did some of the product
        creation using some of the CBD oil. But this was all -- I'm not entirely clear
        on this. P. 167.
     f. There's no dispute that Mr. Desmond sent a hundred and eighty thousand
        dollars to Sling Logistics. P. 168.
     g. I have no idea what his agreement was with Sling. I have nothing to do with
        Sling. Sling is Matt and that's all there is to it. I had nothing to do with this.
        I have no idea why he sent in a hundred and eighty thousand dollars. I have
        no idea what he got for it. I have no idea why he didn't get anything for it.
        All right. Here's how I resolve this dispute. In terms of bucket one, I find
        that on or about August 19th, 2017, both of the Desmonds and both of the
        Boyds reached an agreement. A standard agreement in the industry under
        which the Desmonds would send the Boyds forty-four hundred pounds of
        hemp. And the Boyds would extract that hemp for CBD oil. And they
        would split that fifty-fifty. Pp. 170-171.
     h. I think what happened is that there was a misrepresentation from the very
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      beginning. And that by the time Mr. Desmond realized there was this
      misrepresentation -- and, frankly, also because he still wanted to make a lot
      of money with Alan Boyd in filling this general financing space. That he
      decided to keep going along with this, and bought the equipment for them.
   i. I find that Alan Boyd -- but again, not Chris Boyd -- induced Mr. Desmond
      to invest in this factoring scheme with Sling Logic [sic]. I believe Mr.
      Desmond, that Alan Boyd touted this factoring as an easy way to make some
      short-term money. I mean, heck, it was six to nine percent per month. And
      this was the way to do it. P. 174.
   j. Because I have really no idea what Alan Boyd has to do with Sling
      Logistics. I think he prob -- as I already said, I think he probably has
      something to do with it. I don't think Christopher Boyd has anything to do
      with Sling Logistics. And I don't think he knows what happened to this
      hemp. As to the -- let me talk now about bucket two, the factoring. I find that
      Alan Boyd -- but again, not Chris Boyd -- induced Mr. Desmond to invest in
      this factoring scheme with Sling Logic [sic]. P. 174.
   k. Alan Boyd fraudulently entered into this agreement by claiming that he was
      the chief operating officer, which he was not and never had been. His own
      connection to Transtar is that his son owned it, or owned an interest in it.
      And his son let him use the name Transtar in his email address. P. 174.
   l. And Transtar Financial, LLC. It is signed, apparently, by Mr. Killinger and
      signed by Alan Boyd as COO. I think that means chief operating officer of
      Transtar Financial, LLC. That was false. Alan Boyd had, I believe,
      Christopher Boyd's testimony that Alan Boyd had nothing to do with
      Transtar Financial. That was Christopher Boyd's company. Alan Boyd
      fraudulently entered into this agreement by claiming that he was the chief
      operating officer, which he was not and never had been. His own connection
      to Transtar is that his son owned it, or owned an interest in it. And his son let
      him use the name Transtar in his email address. That's as much as Alan
      Boyd has to do with Transtar. And yet, we have this participation agreement
      with him entering it, allegedly, entering it -- purporting to enter into it on
      behalf of Transtar. P. 174.
   m. And yet, we have this participation agreement with him entering it,
      allegedly, entering it -- purporting to enter into it on behalf of Transtar. By
      the way, it's called participation agreement, but it's a factoring agreement
      when you read the definitions. P. 175.
   n. In making -- in inducing Mr. Desmond to make this investment in Sling
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      Logistics, Alan Boyd not only -- Alan Boyd not only educated Mr. Desmond
      and thereby induced him into doing this. But he also failed to disclose to
      Mr. Desmond that he, Alan Boyd, had been convicted of prior felonies in
      Federal Court. He also failed to disclose that at the moment the Desmonds
      parted with their forty four hundred pounds of hemp to have the Boyds
      extract. Alan Boyd also never told Mr. Desmond, either at the time Mr.
      Desmond -- he induced Mr. Desmond to invest in Sling. Or at the time he
      induced Mr. Desmond to hand over forty-four pounds of hemp. That the
      other -- some of the other people that Mr. Alan Boyd induced to invest with
      Sling were prison buddies of his. And of course, at neither time did he
      disclose to either of the Desmonds that he was facing an eleven-million-
      dollar restitution judgement as a result of that criminal case in Federal Court.
      P. 177.
   o. I find that Plaintiff has proved that Christopher Boyd -- and I don't think Mr.
      Christopher Boyd denies he was an agent of Foothill Ventures. In fact, he's
      the principal owner. I think eighty percent owner of Foothills Ventures.
      They’ve not proved Christopher Boyd was an agent of Sling Logistics. And
      in fact, again, they're not aiming any of the second bucket, the factoring
      bucket at Christopher Boyd. I also find -- and this goes back to what I said
      earlier -- that the Plaintiffs have not proved, to my satisfaction, even just to a
      preponderance, that Alan Boyd was an agent of Sling Logistics. P. 180.
   p. And to me, I need to know much more about what happened to these things
      to reach the conclusions, generally, that Alan Boyd was the agent of Sling. I
      do think Alan Boyd was the agent of Foothills Ventures. He -- his -- he was
      part of this discussion with the Desmonds about how they could handle the
      extraction. P. 181.
   q. But some of this agency issue depends on me knowing much more about
      tracing. And to me, I need to know much more about what happened to
      these things to reach the conclusions, generally, that Alan Boyd was the
      agent of Sling. I do think Alan Boyd was the agent of Foothills Ventures.
      He -- his -- he was part of this discussion with the Desmonds about how they
      could handle the extraction. P. 181.
   r. By the way, I need to acknowledge that the Desmonds have assigned their
      claims to the Plaintiff. That's why I've been calling them Desmonds instead
      of Plaintiffs. They are not the Plaintiff. The Plaintiff in this case is Hemp
      Recovery Company. And the assignment is of record. The Plaintiff has
      eight claims. All eight of them were at least originally alleged in both
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      buckets. And at least originally also alleged against all four Defendants. P.
      181.
   s. The eight claims of civil theft, securities fraud, untrue statement, securities
      fraud, scheme to defraud, false representation -- that's -- I'm going to lump
      fourth, fifth and sixth claims all together as common law fraud claims.
      Plaintiff calls them false representation. (inaudible) claim four,
      nondisclosure. Concealment, that's claim five. And negligent
      misrepresentation, claim six. I'm lumping them all into fraud. P. 181.
   t. But that's why the civil theft statute talks about obtain or retain property.
      Plaintiffs have proved -- Plaintiff has proved the first three elements. But I
      don't think they’ve proved intentional or knowing deprivation of the
      property, permanently. This requires a high level of mens rea. It's not just
      reckless. It's not just that Alan picked a bad person to store the prop -- to
      store this. That he was negligent in not keeping track of it. He didn't know
      who ran the warehouse, for crying out loud. All of that's negligent. It's not
      knowing. To prove -- and I know that civil theft doesn't require reliance,
      exactly. It -- except in the sense of being permanently deprived. And there's
      no doubt they were permanently deprived. But the Plaintiff has to prove that
      the Defendants knowingly deprived them, or intentionally deprived them.
      And here's where tracing what happened to this would have been of some
      benefit. I have no idea if either of these Defendants benefitted at all from
      the theft of the forty-four hundred pounds. P. 182.

   u. Plaintiff has to prove that these Defendants were almost certain -- knew that
      it was almost certain that by doing what they did, the Desmonds would lose
      the forty-four hundred in product. And lose the hundred and eighty
      thousand dollar in investment. And they just haven’t proved that. They’ve
      proved, as I'll talk about later, that Alan Boyd induced this investment. But
      they haven't proved that he got anything from it. Although, I have
      suspicions. And therefore, they just haven't proved these high mens rea that
      are required for that fourth level of civil theft. So the civil theft count is
      dismissed with prejudice. P. 183.

   v. Let me lump all the so-called fault/fraud claims together, four, five and six.
      False representation, nondisclosures, and negligent misrepresentation.
      These are common law versions of fraud with slightly different elements.
      But for all of the reasons I've already found in connection with the securities
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                                      ARGUMENT

                Collateral Estoppel is inapplicable in the case at bar


 The Bankruptcy Court erred in its application of collateral estoppel, in

 particular, whether the issue before the bankruptcy court was identical to an

 issue actually litigated and adjudicated in the prior proceeding?              Section

 523(a)(2)(A) precludes the admission of “a statement respecting the debtor’s or

 an insider’s financial condition.” Colorado law has no equivalent limitation.

 In that important sense, false representation under Colorado law materially differs

 from § 523(a)(2)(A). In the state court proceeding, Judge Hoffman found for

 Appellee as to its claim of false representation. 3

 Under Colorado law, the elements of the tort of false representation are:

          1. The defendant made a false representation of a past or present fact;

          2. The fact was material;
          3. At the time the representation was made, the defendant:

                (a) knew the representation was false; or
                (b) was aware that (he) (she) did not know whether the representation
                was true or false;


          fraud, I find that the Plaintiff has proved these common law fraud type
          claims against Alan Boyd as to both buckets. As to -- and as against
          Christopher Boyd as to the hemp bucket. P. 191.


 3
     Transcript, p. 134.
                                                                                     15
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         4. The defendant made the representation with the intent that (the plaintiff)
         (a group of persons of which the plaintiff was a member) would rely on the
         representation;

         5. The plaintiff relied on the representation;

         6. The plaintiff’s reliance was justified; and

         7. This reliance caused (injuries) (damages) (losses) to the plaintiff.4




 11 U.S.C. § 523(a)(2)(A) provides:

         (a) A discharge under section 727, 1141, 1228(a), 1228(b), or 1328(b) of
         this title does not discharge an individual debtor from any debt—
         (2) for money, property, services, or an extension, renewal, or refinancing
         of credit, to the extent obtained by--

         (A) false pretenses, a false representation, or actual fraud, other than a
         statement respecting the debtor's or an insider's financial condition;

 11 U.S.C. § 523(a)(2)(A). [Emphasis provided.]

 The bankruptcy court applied collateral estoppel to find for the Appellee. The court

 cites Bebo Constr. Co. v Mattox & O’Brien, P.C., 990 P.2d 78, 84-85 (Colo. 1999)

 and several other cases 5 for the proposition that estoppel applied.


 In the oft cited case of In re Riggle, 389 B.R. 167 (D. Colo. 2007), Judge Babcock

 addresses the issue collateral estoppel under Colorado law. Noting that collateral

 estoppel is an equitable doctrine applied at the court’s discretion and need not be

 applied in every case, Riggle states:




 4
     Colorado Jury Instructions 19.1
 5
     Order on Plaintiff’s Motion for Summary Judgment, pp. 12 and 13.
                                                                                       16
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       [a]s this appeal arises out of a judgment of a Colorado District Court,
       Colorado law determines the preclusive effect of the state judgment. Under
       Colorado law, the doctrine of collateral estoppel “bars relitigation of an issue
       if: (1) The issue precluded is identical to an issue actually litigated and
       necessarily adjudicated in the prior proceeding; (2) The party against
       whom estoppel was sought was a party to or was in privity with a party to
       the prior proceeding; (3) There was a final judgment on the merits in the
       prior proceeding; (4) The party against whom the doctrine is asserted had a
       full and fair opportunity to litigate the issues in the prior proceeding.”

 Riggle, at 173, (Emphasis added.)


 To the extent Judge Hoffman’s findings refer to financial condition, such

 statements are inadmissible in the case at bar.


 There is nothing in the state court findings to suggest that the Appellant and the

 Desmonds memorialized in writing their respective roles in the venture. Indeed,

 Appellee (as assignee for the Desmonds) did not proceed under § 523(a)(2)(B)—

 which calls for an agreement in writing.


 Given the (surprising) absence of a written agreement between the Desmonds and

 the Appellant, it is fair to assume that Judge Hoffman relied upon conversations

 between the parties as to their dealings. A review of the state court’s findings of

 fact and conclusions of law support this inference. References to representations,

 if almost exclusively, came from Alan Boyd, and had to do with “financial

 condition” of the company. That is, an ability to perform. 6



   6
    “Had Congress intended § 523(a)(2)(B) to encompass only statements
 expressing the balance of a debtor's assets and liabilities, it could have so specified
 — e.g., "statement of the debtor's financial condition." The Court also agrees that a
                                                                                       17
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 To the extent Judge Hoffman’s findings refer to financial condition, such

 statements would have been inadmissible in the case at bar. And for good reason.

 Congress saw fit to exclude the less-than-trustworthy verbal statements about a

 Debtor’s business and ability to perform by excluding same from § 523(a)(2)(A).

 The trial court offers little direction as to this point. It simply concludes that the

 statements were not related to the financial condition of Appellant and his

 company. Appellant disagrees. If the communications between the parties, all

 verbal, and cited by Judge Hoffman, were not representations as to financial

 condition (i.e., ability to perform, time to perform, when to perform), what were

 they? Again, there is nothing in the record to suggest the parties knew one another

 informally, Rhetorically speaking—what else would two joint venturers talk about

 if not the Appellant’s ability to perform.

 The trial court’s conclusory statement that the misrepresentation would be

 inadmissible, and fall outside the orbit of § 523(a)(2)(A), is reversable error as a

 matter of law and fact.


 The Tenth Circuit in In re Wallace, 840 F.2d 762 (10th Cir. 1988) determined that

 while the bankruptcy court ultimately decides if a debt is dischargeable under §

 523, collateral estoppel may be invoked to prevent a party from relitigating settled


 statement is "respecting" a debtor's financial condition if it has a direct relation to
 or impact on the debtor's overall financial status. A single asset has a direct relation
 to and impact on aggregate financial condition, so a statement about that asset
 bears on a debtor's overall financial condition and can help indicate whether a
 debtor is solvent or insolvent. A statement about a single asset, thus, can be a
 "statement respecting the debtor's financial condition." Id, at 1755.
                                                                                          18
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 facts. The court set forth three conditions which would result in a party being

 bound by previous litigation:


        1. the issue to be precluded is the same as that involved in the prior state
           action;
        2. the issue was actually litigated by the parties in the prior action; and
        3. the state court's determination of the issue was necessary to the resulting
           final and valid judgment.

 Id. at 765.

 In the case at bar, Appellee argues that the trial court can enter judgment, as a

 matter of law, without the need for additional evidence. As described above, the

 problem with this argument is that § 523(a)(2)(A) is not identical to the common

 law claims of fraud, false pretenses and the like.7


 In support of its argument there is no “genuine issue of fact,” Plaintiff cites to

 various state court orders and a transcript of testimony from the trial. Plaintiff

 attaches no affidavits or declarations by witnesses under penalty of perjury.

 Within its motion for summary judgment, Appellee represents, again and again,

 what appear to be conversations between the parties as to Appellant’s company’s

 (i.e., Foothills’) ability to perform, and the like.




 7
   Claims within section 523(a) do not often mirror similar yet different causes of
 action under state law. For example, the Colorado Trust Fund Statute declares
 contractors are fiduciaries. 11 U.S.C. § 523(a)(4) excepts from discharge debts
 incurred for breach of fiduciary duty. However, the latter statute also requires a
 showing of defalcation. The state statute has no such requirement. See
 Colo.Rev.Stat. § 38-22-102.
                                                                                      19
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 The Tenth Circuit writes:


         Title 11, United States Code § 523(a)(2)(A) generally bars the discharge of
         the debts of an individual debtor to the extent that those debts were obtained
         by false pretenses, a false representation, or actual fraud. However, to the
         extent that those debts were obtained by the use of a false oral statement
         respecting the debtor's or an insider's financial condition, they are
         dischargeable. We hold that such false statements are those that purport to
         present a picture of the debtor's overall financial health. Statements that
         present a picture of a debtor's overall financial health include those
         analogous to balance sheets, income statements, statements of changes
         in overall financial position, or income and debt statements that present
         the debtor or insider's net worth, overall financial health, or equation of
         assets and liabilities. However, such statements need not carry the
         formality of a balance sheet, income statement, statement of changes in
         financial position, or income and debt statement. What is important is not
         the formality of the statement, but the information contained within it —
         information as to the debtor's or insider's overall net worth or overall income
         flow.

 In re Joelson, 427 F.3d 700, 714 (10th Cir. 2005). [Emphasis provided.]      8
                                                                                  See,

 also, Lamar, Archer & Cofrin, LLP v. Appling, 138 S.Ct. 1752 (2018).9



 8
   “Had Congress intended § 523(a)(2)(B) to encompass only statements expressing
 the balance of a debtor's assets and liabilities, it could have so specified
 — e.g., "statement of the debtor's financial condition." The Court also agrees that a
 statement is "respecting" a debtor's financial condition if it has a direct relation to
 or impact on the debtor's overall financial status. A single asset has a direct relation
 to and impact on aggregate financial condition, so a statement about that asset
 bears on a debtor's overall financial condition and can help indicate whether a
 debtor is solvent or insolvent. A statement about a single asset, thus, can be a
 "statement respecting the debtor's financial condition." Id, at 1755.

     “Had Congress intended § 523(a)(2)(B) to encompass only statements
     9

 expressing the balance of a debtor's assets and liabilities, it could have so specified
 — e.g., "statement of the debtor's financial condition." The Court also agrees that a
 statement is "respecting" a debtor's financial condition if it has a direct relation to
                                                                                         20
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    Assuming arguendo the assignment of the claim is valid, Appellee prosecutes
    an intentional tort for which it is not a victim—such a claim is barred by the
           doctrine of champerty. Appellee is not the real party in interest
                                 and lacks standing.

 In his findings, Judge Hoffman notes that the Desmonds assigned their claims

 against Defendants.10 Appellee’s Cause of Action is for violation of 11 U.S.C. § 523

 (a)(2)(A)—false pretenses, false representation or actual fraud. These claims are

 intentional torts. An intentional tort is when an individual or entity purposely

 engages in conduct that causes injury or damage to another.

 Champerty is defined as:

       a bargain by a person with a plaintiff or a defendant for a portion of the matter
       involved in a suit in the event of a successful termination of the action, which
       the person undertakes to maintain or carry on at his own expense. State v.
       Chitty, 17 S.C.L. (1 Bail.) 379, 400 (1830); 14 C.J.S. Champerty and
       Maintenance § 2 (1991); 14 Am.Jur.2d Champerty and Maintenance § 3
       (1964). A champertor is one who purchases an interest in the outcome of a
       case in which he has no interest otherwise. A champertous agreement is
       unlawful and void where the rule of champerty is recognized, and the tainted
       agreement is unenforceable. 14 C.J.S. Champerty and Maintenance § 17; 14
       Am.Jur.2d Champerty and Maintenance § 7.


 Osprey, Inc. v. Cabana Ltd. Partnership, 532 S.E.2d 269 (S.C. 2000), at 373.

 Colorado recognizes the concept of champerty. See In re Thomas, 387 B.R. 808

 (D. Colo. 2008). As such, the assignment of an intentional tort to an unrelated

 third party to champion is an unenforceable agreement. To the extent there exists


 or impact on the debtor's overall financial status. A single asset has a direct relation
 to and impact on aggregate financial condition, so a statement about that asset
 bears on a debtor's overall financial condition and can help indicate whether a
 debtor is solvent or insolvent. A statement about a single asset, thus, can be a
 "statement respecting the debtor's financial condition." Id, at 1755.
 10
    Exhibit 2, at p. 181.
                                                                                       21
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 any claims against Defendant, Mr. and Mrs. Desmond may be the real parties in

 interest, but not Hemp Recovery Company, LLC. And the Desmonds were not a

 party to the adversary proceeding. See Fed.R.Civ.P. 17(a), as adopted in

 Fed.R.Bankr.P. 7017. 11

                     Claims of proper standing or champerty are not
                           mandatory affirmative defenses


 Colo.R.Civ. P. 8 sets forth a concise list of affirmative defenses that must be asserted

 or are waived. Most affirmative defenses must be pleaded in a timely manner by a

 defendant in order for the court to consider them, or else they are considered waived

 by the defendant's failure to assert them. The defense of champerty is not among

 those affirmative defenses.12 The classic unwaivable affirmative defense is lack

 of subject-matter jurisdiction.

                             Rooker-Feldman is not applicable

 Rooker-Feldman precludes federal district courts from effectively exercising

 appellate jurisdiction over claims "actually decided by a state court" and claims

 "`inextricably intertwined' with a prior state-court judgment." Kenmen Eng'g v. City

 of Union, 314 F.3d 468, 473 (10th Cir.2002) (citing Rooker, 263 U.S. at 415-16, 44

 S.Ct. 149, and Feldman, 460 U.S. at 483 n. 16, 103 S.Ct. 1303). Mo’s Express, LLC



 11
    It is not clear to Appellant whether the claim was assigned irrevocably or
 revocably. No matter, as this Plaintiff lacks standing.


 12
      Colo.R.Civ.P. 8(c)
                                                                                      22
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 v. Sopkin, 441 F.3d 1229 (10th Cir. 2006), at 1233. Likewise, the doctrine of comity

 with the states is not disturbed by reversal inasmuch as the issue of dischargeability

 is a core proceeding within 28 U.S.C § 158, belongs solely to the bankruptcy court,

 and “financial condition” was not before the state court. The state court order

 reflects that the aggrieved party is not the Appellee, but an assignee of a claim from

 the Desmonds. Further, there is nothing in the record to suggest that the Appellant

 raised the issue of standing, real party in interest, or the defense of Champerty in the

 state court proceeding. The rules regarding asserting affirmative defenses is set forth

 in Colo.R. Civ. P. 8. No mention of champerty.

          “Preservation Doctrine” was not violated in the state court matter

 The doctrine of preservation requires that an issue be preserved for appellate review,

 only if it was first raised in the nisi prius court. As a general rule, issues not presented

 in the trial court are deemed waived and cannot be raised on appeal. Paine, Webber,

 Jackson & Curtis, Inc. v. Adams, 718 P.2d 508 (Colo. 1986), at 513.

 In the state court trial, Appellant did not raise the issue of standing, real party in

 interest, or the defense of “champerty.” Appellant submits that this is not fatal to

 raising the issue with the bankruptcy court, as he did, and were preserved in that

 adversary case for review on appeal.

                                     Article III Jurisdiction




                                                                                          23
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 In 1978, Congress revised the Bankruptcy Act and created bankruptcy courts as

 adjuncts of the district courts.13 Although the Court has been inconsistent, it has now

 settled upon the rule that, “at an irreducible minimum,” the constitutional requisites

 under Article III for the existence of standing are that the plaintiff must personally

 have: 1) suffered some actual or threatened injury; 2) that injury can fairly be traced

 to the challenged action of the defendant; and 3) that the injury is likely to be

 redressed by a favorable decision.14 Standing is designed to ensure that the party

 seeking relief has a cognizable claim in the outcome of the case. 15 Moreover, when

 there are multiple parties to a lawsuit brought in federal court, “[f]or all relief sought,

 there must be a litigant with standing, whether that litigant joins the lawsuit as a

 plaintiff, a coplaintiff, or an intervenor as of right.” See Town of Chester v. Laroe

 Estates, Inc., 137 S.Ct. 1645 (2017) A litigant must also maintain standing to pursue


 13
   Bankruptcy Act of 1978, Pub. L. No. 95–598, 92 Stat. 2549, codified in titles 11,
 28. The bankruptcy courts were made adjuncts of the district courts by § 201(a), 28
 U.S.C. § 151(a).
 14
    See Lujan v. Defs. of Wildlife, 504 U.S. 555, 560–61 (1992). Importantly,
 standing is not “dispensed in gross,” and, accordingly, a plaintiff must demonstrate
 standing for each claim “he seeks to press and for each form of relief that is
 sought.” See Davis v. FEC, 554 U.S. 724, 734 (2008). Moreover, when there are
 multiple parties to a lawsuit brought in federal court, “[f]or all relief sought, there
 must be a litigant with standing, whether that litigant joins the lawsuit as a
 plaintiff, a coplaintiff, or an intervenor as of right.” See Town of Chester v. Laroe
 Estates, Inc., 581 U.S. 433 (2017).
 15
   “Although we there noted that the categories of judicially cognizable injury were
 being broadened, id., at 154, we have more recently stressed that the broadening
 of categories "is a different matter from abandoning the requirement that the party
 seeking review must himself have suffered an injury." Schlesginger v. Reservists
 Comm. To Stop the War, 418 U.S. 208 (1974), at 218-219; see also, Community
 Board 7 of Borough of Manhattan v. Schaffer, 84 NY2d 148 (1994).
                                                                                         24
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 an appeal. See, e.g., Hollingsworth v. Perry, 570 U.S. 693, 705 (2013). Notably, in

 the case at bar, the aggrieved (i.e., the Desmonds) are not parties within the

 adversary. 16 In Spokeo, Inc. v. Robins, the Court explained that a concrete injury

 requires that an injury must “actually exist” or there must be a “risk of real harm,”

 such that a plaintiff who alleges nothing more than a bare procedural violation of a

 federal statute cannot satisfy the injury-in-fact requirement.17

 It is well-settled that a “judgment or order issued without subject matter

 jurisdiction is void, and that defect may be raised at ay time and may not be

 waived.” 18 If a court determines at any time that it lacks subject-matter

 jurisdiction, the court must dismiss the action. 19




 16
    Foster v. Center Tp. Of LaPorte County, 798 F.2d 237 (7th Cir. 1986) at 240-
 241. (Article III of the Constitution limits the power of the federal judiciary to the
 resolution of "cases" and "controversies." [Citations omitted] In its constitutional
 dimension, the issue of a party's standing is a component of the case-or-
 controversy analysis, and, thus, bears on the power of a court to entertain the
 party's complaint. Citations omitted]. We are, of course, obligated to consider the
 issue of standing, like any other question of our Article III jurisdiction, whether the
 parties have raised it or not. [Citations omitted] ("[E]very federal appellate court
 has a special obligation to `satisfy itself not only of its own jurisdiction, but also
 that of the lower court.'") Citations omitted]. If we discover that the lower court
 lacked jurisdiction, because the plaintiff did not have standing, then we have
 jurisdiction on appeal, not of the merits, but merely for the purpose of correcting
 the error of the lower court entertaining the suit. Citations omitted] It is immaterial
 that both parties failed to notice the jurisdictional defect. [Citation omitted]
 17
    (“A ‘concrete’ injury must be ‘de facto’; that is, it must actually exist.” Spokeo,
 Inc. v. Robin, 136 S.Ct. 1540 (2016), at 1548)
 18
    “It is black-letter law that a judgment rendered without subject matter
 jurisdiction is void, and that the defect may be raised at any time and may not be
 waived (see 21 CJS, Courts, §§ 108-110, 116).”
 19
    Fed.R.Civ.P. 12 (h)
                                                                                      25
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 In the case of Stark v. Goldberg, 297 AD2d 203 (1st Dept 2002), citing the

 Supreme Court decision of Allen v. Wright, 468 U.S. 737 (1984), 20 standing goes

 to subject matter jurisdiction and may be raised for the first time on appeal sua

 sponte. Admittedly, Appellant did not raise standing in the state court matter, but

 did so in the bankruptcy court. As Appellee lacked standing to prosecute its claim

 in the underlying adversary case, the judgment should be set aside as a matter of

 law.

 In the case of Wells Fargo v. Mastropaolo, the court concluded that lack of

 standing is tantamount to a lack of subject matter jurisdiction as there is no

 aggrieved party, and without a genuine controversy, there is no subject matter

 jurisdiction. 21



 20
    Accord, Axelrod v. New York State Teachers’ Retirement System, 54 A.D.2d
 827(3rd Dept 1988) As a result, plaintiffs have not been personally injured by the
 challenged statute and, therefore, lack standing to complain about any alleged
 deficiencies in the law (see, Matter of Eaton Assocs. v Egan, 142 A.D.2d 330,
 334). Since standing is jurisdictional and goes to a court's authority to resolve
 litigation, we can raise this matter sua sponte (supra, at 334-335). In the absence of
 standing, plaintiffs' complaint was properly dismissed. Id at 828.); Murray v. State
 Liquor Authority, 139 AD2d 461 (1st Dept 1988) (a party’s standing constitutes a
 question of subject matter jurisdiction.)
 21
    Wells Fargo v. Mastropaolo, 42 A.D.3d 239 (2007), at 243 (The issue has
 remained unsettled, however, because other decisions have concluded that a lack of
 standing is tantamount to a lack of subject matter jurisdiction, and therefore is not
 waivable (see Stark v Goldberg, 297 AD2d 203, 204 [2002]; Axelrod v New York
 State Teachers' Retirement Sys., 154 AD2d 827, 828 [1989]; Matter of Eaton
 Assoc. v Egan, 142 A.D.2d 330, 334-335 [1988]). The reasoning underlying such
 decisions is that where there is no aggrieved party, there is no genuine controversy,
 and where there is no genuine controversy, there is no subject matter jurisdiction
 (see Security Pac. Natl. Bank v Evans, supra at 284 [Catterson, J., dissenting]); but
                                                                                     26
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                                   CONCLUSION

 Appellee lacked standing to proceed in an Article III court. In the context of an

 appeal, the question of standing can be supported by abstract or slight injuries,

 such as probabilistic injury, reputational injury, or an award of nominal damages,

 attorney fees. 22 Standing to appeal has been denied if no adverse effect can be

 shown. 23 Appellee lacked standing to prosecute a claim under 11 U.S.C. §

 523(a)(2)(A)

           WHEREFORE, Appellee prays the Court reverses the bankruptcy court and

 remand the matter back consistent with this Court’s findings.

 Dated: November 3, 2023                /s/ Stephen Berken
                                        Stephen E. Berken #14926
                                        Berken Cloyes PC
                                        1159 Delaware Street
                                        Denver, CO 80204
                                        (303) 623-4357
                                        Email: stephenberkenlaw@gmail.com
                                        Attorneys for Defendant




 see Deutsche Bank Nat’l Trust Co. v. Barwick-Bissat, 2015 NY Slip Op 30225
 (2015).
 22
      Wright & Miller’s Federal Practice and Procedure, § 3902
 23
   Id.; See also Wachovia Securities, LLC v. Loop Corp., 726 F.3d 899, 906-909.
      th
 (7 Cir. 2013).
                                                                                      27
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                         CERTIFICATE OF MAILING


        I hereby certify that on this 3rd day of November 2023, I served a true and
 correct copy of the foregoing *Corrected* Opening Brief via the court’s electronic
 filing system/ecf, addressed to the following:

 Via CM/ECF

 Michael Lamb via ecf: mcl@kjblaw.com

 Chris Boyd
 1545 Skimmer Street
 Berthoud, CO 80513

                                             By: /s/ Stephen Berken




                                                                                 28
Case No. 1:23-cv-01888-REB Document 9 filed 11/03/23 USDC Colorado pg 29 of 30
           STATEMENT OF COUNSEL AS TO ORAL ARGUMENT

 Appellant requests oral argument to the extent that this Court deems it helpful to

 clarify matters raised in the briefs.

                        CERTIFICATE OF COMPLIANCE

     Certificate of Compliance with Type-Volume Requirements, Typeface
                  Requirements, and Type Style Requirements

 The undersigned counsel hereby certifies that with respect to the foregoing:

 1. This filing complies with the page limitation of Fed.R.Bankr.P. 8015(a)(7) as the

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 CHRISTOPHER BOYD is proportionally spaced and contains less than 30 pages.

 2. This filing complies with the typeface requirements of Fed.R.Bankr.P.

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 I hereby certify that a copy of the foregoing *CORRECTED* OPENING BRIEF

 OF APPELANT CHRISTOPHER BOYD as submitted in digital form via the

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                                                                                      29
Case No. 1:23-cv-01888-REB Document 9 filed 11/03/23 USDC Colorado pg 30 of 30
 23.10.6086, updated November 3, 2023, and according to the program, is free of

 viruses. In addition, I certify to have made all required privacy redactions.

       Dated: November 3, 2023



                                         /s/ Stephen E. Berken, Esq.
                                         BERKEN CLOYES P.C.
                                         1159 Delaware St.
                                         Denver, CO 80204
                                         Tel: (303) 623-4357
                                         Facsimile: (720) 554-7853
                                         Email: stephenberkenlaw@gmail.com
                                         Counsel for Appellant




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